            Case 1:22-cr-00157-RDM Document 22 Filed 11/14/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :       CASE. NO. 22-CR-157-RDM
                                               :
                                               :
JUSTIN MICHAEL SMITH                           :
                                               :
                       Defendant               :

                                    JOINT STATUS REPORT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and the Defendant, by and through his attorney, Michelle M. Peterson (collectively,

“the Parties”), respectfully submit this status report, as directed by the Court, and state as follows:

       1.       On May 5, 2022, the defendant was charged by way of Information. Specifically,

Justin Michael Smith was charged with the following: (Count One) Entering and Remaining in a

Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(1); (Count Two)

Disorderly and Disruptive Conduct in a Restricted Building or Grounds in violation of Title 18

U.S.C. § 1752(a)(2); (Count Three) Disorderly Conduct in a Capitol Building in violation of 40

U.S.C. § 5104(e)(2)(D); (Count Four) Parading Demonstrating or Picketing in a Capitol Building,

in violation of Title 40 U.S.C. § 5104(e)(2)(G).

       2.       Justin Michael Smith remains on bond since his initial appearance in the District

Court for the District of Columbia on May 10, 2022.

       3.       The Court Ordered the parties to provide a Joint Status Report by November 14,

2022, and to address the status of discovery, next steps, and speedy trial.

       4.       Discovery in this matter is ongoing. Case specific discovery has largely been


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             Case 1:22-cr-00157-RDM Document 22 Filed 11/14/22 Page 2 of 2




completed and produced. However, there are ongoing global discovery productions in this case.

        5.       The Parties have agreed, and jointly request a 30-day continuance of this matter, to

allow the parties to continue to review discovery productions. A plea offer has been extended to

the defendant and at this time, the parties anticipate that this matter will be resolved short of trial.

The parties also agree, and request to exclude related time from the Speedy Trial Act for 30 days

from the date of this filing.



                                                               MATTHEW M. GRAVES
                                                               United States Attorney
                                                               D.C. Bar No. 481052


                                                               /s/ Christopher M. Cook
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                                                               /s/ Michelle M. Peterson
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